                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

A.L., by his next friend,
TARA LLOYD, and
R.N., by his next friend,
KIMBERLY NEWHOUSE,

                  Plaintiffs,
v.
                                                            Civ. Action No. 20-cv-276
BETH KAMINSKI,
Individually and in her official
Capacity as Principal of
Kettle Moraine High School,

            Defendant.
______________________________________________________________________________

                          NOTICE OF APPEARANCE
______________________________________________________________________________

         PLEASE TAKE NOTICE that Ronald S. Stadler and Jonathan E. Sacks of Jackson Lewis

P.C., 330 East Kilbourn Avenue, Suite 560, Milwaukee, Wisconsin 53202, enter this notice of

appearance in this action as counsel for Defendant Beth Kaminski and request that all further

notices, pleadings or other matters in that regard be served upon them.

         Dated this 27th day of February, 2020.

                                                    JACKSON LEWIS, P.C.
                                                    Attorneys for Defendants

                                                    By:      /s/ Ronald S. Stadler
                                                            Ronald S. Stadler
                                                            State Bar No. 1017450
                                                            Jonathan E. Sacks
330 E. Kilbourn Avenue, Suite 560                           State Bar No. 1103204
Milwaukee, Wisconsin 53202
telephone: 414-944-8900
facsimile: 414-944-8901
e-mail: Ronald.stadler@jacksonlewis.com
        Jonathan.sacks@jacksonlewis.com
4852-0208-4022, v. 1




            Case 2:20-cv-00276-WCG Filed 02/27/20 Page 1 of 1 Document 4
